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9
                                   UNITED STATES DISTRICT COURT
10
                                NORTHERN DISTRICT OF CALIFORNIA
11
                                       SAN FRANCISCO DIVISION
12
13   UNITED STATES OF AMERICA,                      )       No. CR 05 0671 WHA
                                                    )
14           Plaintiff,                             )       [PROPOSED] PROTECTIVE ORDER
                                                    )       RE: DISCOVERY OF PERSONAL AND
15      v.                                          )       FINANCIAL INFORMATION
                                                    )
16   JOSE FRANCISCO LEYVA, and                      )
     JAMES EDWARDS,                                 )
17                                                  )
             Defendants.                            )
18                                                  )
19
20           Defendants Jose Francisco Leyva and James Edwards have been charged pursuant to
21   Indictment CR 05 0671 WHA with one count each of access device fraud in violation of 18
22   U.S.C. § 1029(a)(2) and conspiracy to commit access device fraud in violation of 18 U.S.C. §
23   1029(b)(2). The United States will produce to counsel for the defendants several hundred
24   discovery documents. Many of the documents contain personal (i.e. name, address, and/or
25   telephone numbers) and financial information (i.e. credit card numbers or account information)
26   of alleged victims of mail, identity, and/or credit card theft. Pursuant to Federal Rule of Criminal
27   Procedure 16, the parties stipulate that the disclosure of these materials will be subject to the
28   following restrictions:

     PROTECTIVE ORDER
     CR 05 0671 WHA                                     1
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1           1.      The following individuals may examine the documents for the sole purpose of
2    preparing the defense of defendants Jose Francisco Leyva and James Edwards and for no other
3    purpose:
4                   (a)     Members of the legal organizations or firms employing those attorneys
5                           who are formally representing the defendants in this matter;
6                   (b)     Defendants Jose Francisco Leyva and James Edwards, but only in the
7                           presence of their attorneys; and  * Defendants may
                                                              not make notes.
8                   (c)     Any expert retained by the defendants to assist in the defense of this
9                           matter.
10          2.      A copy of this order shall be maintained with the documents at all times.
11          3.      No other person may be allowed to examine the material without further court
12   order. Examination of the documents containing personal and/or financial information of the
13   alleged victims of mail, identity, and/or credit card theft shall be done in a secure environment
14   which will not expose the materials to other individuals not listed above.
15          4.      If the defendant enters into a plea agreement with the Government or the
16   government prevails on the charge, should this case proceed to trial, the defense counsel within
17   five court days of the judgment and sentencing hearing in this matter, shall return to the
18   Government all material provided to the defense pursuant to this Order, and all other authorized
19   copies, if any, shall also be returned to the Government. The Government shall destroy them. If
20   the defendant believes that he must maintain the material for any reason related to appeal, the
21   defendant must seek authorization from the District Court within five days of the sentencing and
22   //
23   //
24   //
25   //
26   //
27   //
28   //

     PROTECTIVE ORDER
     CR 05 0671 WHA                                   2
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1    judgment in this matter.
2
3           IT IS SO STIPULATED.
4
5    DATED:         November 16, 2005                     ____________/s______________________
                                                          DAVID FERMINO, ESQ.
6                                                         Counsel for JOSE FRANCISCO LEYVA
7
8    DATED:         November 14, 2005                     ____________/s______________________
                                                          ERIC BABCOCK, ESQ.
9                                                         Counsel for JAMES EDWARDS
10
11   DATED:         November 14, 2005                     ____________/s______________________
                                                          ROBERT DAVID REES
12                                                        Assistant United States Attorney
13
14          PURSUANT TO STIPULATION, IT IS SO ORDERED that disclosure of the
15   above-described discovery materials shall be restricted as set forth above.
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                                                                                  S DISTRICT
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     DATED: November 17, 2005                             ____________________________D IS T IC
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                                                          HON. WILLIAM H. ALSUP
19                                                        United States District Judge
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     PROTECTIVE ORDER
     CR 05 0671 WHA                                   3
